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IN THE UNITED STATES DISTRlcT coURT j g
FOR THE WESTERN DISTRICT 0F TENNESSEE ‘ 5 f l » 1' 2 0 PH : g 5
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 04-20081-Ml

BILLY THOMAS PHILLIPS

Defendant(s)

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Sentencing Hearing on Friday, May 20, 2005 at
9:30 a.m. The defendant requested that he be allowed to withdraw his
Guilty Plea heretofore entered on February 22, 2005. The Court granted
the defendant's request and counsel for the defendant requested a
continuance of the present setting. The continuance is necessary to
allow for additional preparation in the case.

The Court granted the request and continued the matter for a Report
Date on Friday, May 27, 2005 at 9:00 a.m. with a trial date of Monday,
June 6, 2005 at 9:30 a.m.

The period from May 19, 2005 through June 17, 2005 is excludable
under 18 U.S.C. § BlGl(h)(S)(B}(iv) to allow defense counsel additional
time to prepare.

IT ls so 0RDERED this the d© day of May, 2005.

to m‘QM

JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

This 010chth entered on the docket sheet In corn llance
with R.lle 55 and,'or 32be FRCrP on "(§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 114 in
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ENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

